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                             UNITED STATES DISTRICT COURT
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                            EASTERN DISTRICT OF WASHINGTON
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 8    UNITED STATES OF AMERICA,                      Case No. 2:21-CR-0130-TOR
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                                  Plaintiff,         STIPULATED PROTECTIVE
10                                                   ORDER REGARDING COMPUTER
11                  v.                               FORENSIC REVIEW PROCEDURES
                                                     FOR CHILD PORNOGRAPHY
12    MIGUEL ANTONIO MONDACA,                        CONTRABAND
13
                               Defendant.
14
15         BEFORE THE COURT is the parties’ Stipulated Motion for Protective Order
16   Regarding Computer Forensic Review Procedures for Child Pornography Contraband.
17   ECF No. 27. The motion was submitted for hearing without oral argument. Having
18   reviewed the record and the files therein, the Court is fully informed.
19         GOOD CAUSE HAVING BEEN SHOWN, the Court hereby ORDERS that the
20   Stipulation Regarding Computer Forensic Review Procedures For Child Pornography
21   Contraband filed by the parties is GRANTED.
22         1.     IT IS FURTHER ORDERED that 18 U.S.C. § 3509(m) applies to this case,
23   and the Court is required to deny defense requests to copy, photograph, duplicate, or
24   otherwise reproduce material constituting child pornography if the government makes
25   the material reasonably available to Defendant and provides an ample opportunity for
26   the defense to examine it at a government facility. See 18 U.S.C. § 3509(m).
27         2.     IT IS FURTHER ORDERED that, in order to comply with 18 U.S.C.
28   § 3509(m), and to allow Defendant the greatest opportunity to prepare an effective
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     ORDER REGARDING CHILD PORNOGRAPHY FORENSIC REVIEW - 1
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 1   defense in preparation for trial in this matter, the government will make a forensic copy
 2   or “image” of devices and media containing alleged child pornography contraband at
 3   issue in the above-referenced case. The government will make any forensic images
 4   reasonably available to Defendant and provide ample opportunity for the defense team to
 5   examine them at a government facility in Spokane, Washington. The parties may
 6   readdress the Court if there is a need for additional or after-hours access during the
 7   course of litigation in the event trial or motion hearings require additional forensic
 8   review.
 9          3.    IT IS FURTHER ORDERED that the defense forensic examination may be
10   conducted in an interview room monitored by closed-circuit television (“CC-TV”),
11   without audio feed. If so, the TV with non-audio feed will ensure the integrity of FBI
12   space and security of its occupants, and will not be of sufficient detail or at an angle that
13   would reveal defense strategy. The government and its agents will make no attempt to
14   record any audio from the workstation and no attempt to observe the defense team’s
15   work product or computer monitor screen at any time. The defense expert may review
16   the feed to ensure that defense strategy is not being compromised at any time while
17   conducting the forensic review.
18          4.    IT IS FURTHER ORDERED that the defense team1 shall not make, nor
19   permit to be made, any copies of the alleged child pornography contraband pursuant to
20   this Protective Order and shall not remove any contraband images from the government
21   facility. The defense expert will be allowed to copy any file that is not contraband and
22   compile a report (without contraband images/videos) documenting the examination on
23   removable media at the discretion of the defense expert.
24          5.    IT IS FURTHER ORDERED that any defense counsel and/or designated
25   defense expert will leave at the government facility any equipment, including hard
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       For purposes of this Protective Order, the term “defense team” refers solely to
     Defendant’s counsel of record (“defense counsel”), Defendant’s designated expert
28   (“defense expert”), and a defense investigator.
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     ORDER REGARDING CHILD PORNOGRAPHY FORENSIC REVIEW - 2
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 1   drives, which contain child pornography contraband that is identified during forensic
 2   evaluation.
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           IT IS SO ORDERED. The Clerk shall enter this Order and furnish copies to
 4
     counsel.
 5         Dated October 25, 2021.
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 9                                    THOMAS O. RICE
                                   United States District Judge
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     ORDER REGARDING CHILD PORNOGRAPHY FORENSIC REVIEW - 3
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